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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

------------------------------------------------------- X
JENNIFER VANDERSTOK, et al.,                            :
                                                        :   Civil Action No. 4:22-cv-00691-O
                       Plaintiffs,                      :
                                                        :
                       v.                               :
                                                        :
MERRICK GARLAND, in his official
                                                        :
capacity as Attorney General of the
                                                        :
United States, et al.,
                                                        :
                       Defendants.                      :
------------------------------------------------------- X


     BRIEF OF AMICI CURIAE GUN VIOLENCE PREVENTION GROUPS

IN SUPPORT OF DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
               FOR PRELIMINARY INJUNCTION


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                           DISCLOSURE STATEMENT

      Amici curiae submit that Brady United Against Gun Violence (“Brady”),

Everytown for Gun Safety Action Fund (“Everytown”), and March For Our Lives

(“MFOL”) (collectively, the “Gun Violence Prevention Groups”) are nonprofit

corporations with no parent corporations. No publicly held company owns 10% or

more of the stock of Brady, Everytown, or MFOL.

                          STATEMENT OF INTEREST

      The Gun Violence Prevention Groups submit this amicus brief in support of

Defendants’ opposition to Plaintiffs’ motion for a preliminary injunction.

      Brady is the nation’s longest-standing nonpartisan, nonprofit organization

dedicated to reducing gun violence through education, research, and advocacy. Brady

has researched the prevalence of ghost guns, created resources to demonstrate the

ease with which ghost guns can be obtained and assembled, and advocated on behalf

of commonsense measures to stop the spread of ghost guns.

      Everytown is the nation’s largest gun-violence-prevention organization.

Everytown has advocated on behalf of measures to limit the proliferation of

unserialized firearms and extensively studied the detrimental effects of these

firearms on safety and federal and state laws.

      MFOL is a nationwide organization of young people who support sensible gun-

violence-prevention policies. MFOL has fought to curtail the rapid rise of ghost guns

and has focused on the deadly effects of ghost guns on teenagers.




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                                  INTRODUCTION

         To advance public safety and aid law enforcement, the Gun Control Act of 1968

(“Act”), Pub. L. No. 90-618, 82 Stat. 1213, as amended, subjects “firearms” to key

requirements: background checks to prevent sales to persons who have committed

felonies, who are fugitives, and who are minors, among others; licensing for

manufacturers, importers, and dealers to ensure that firearms are built and sold

responsibly; and serialization to trace guns to their first retail sale. 18 U.S.C. §§ 921–

931. Congress intended these requirements to “prevent guns from falling into the

wrong hands” and to “assist law enforcement . . . in investigating serious crimes.”

Abramski v. United States, 573 U.S. 169, 172, 180 (2014).

         The recent and rapid proliferation of “ghost guns” has undermined the Act and

Congress’s law-and-order objectives. A ghost gun is a fully functional, unserialized,

and untraceable weapon that can be assembled in an hour or less from partially

complete frames and receivers that are freely available online or at gun shows

(including as part of ghost gun “kits”) with no background check and no questions

asked.     Ghost guns thwart the Act by allowing criminals and other prohibited

individuals to acquire, use, and traffic weapons, all while remaining undetectable to

law enforcement.

         In recent years, recoveries of ghost guns in connection with crimes have

increased at an alarming rate. Law enforcement reported 19,344 recoveries of ghost

guns in 2021, compared to 1,758 recoveries in 2016; 692 ghost guns were recovered




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in connection with a homicide or attempted homicide. 1 The threat posed by ghost

guns shows no signs of abating on its own. In July 2022, a 17-year-old shot herself in

the face with a ghost gun built by her cousin—even though the family was prohibited

from having guns due to the victim’s mother’s felony conviction. 2 The month before,

four individuals were charged with trafficking 31 ghost guns across state lines. 3

      ATF acted prudently and well within its authority in promulgating Definition

of “Frame or Receiver” and Identification of Firearms, 87 Fed. Reg. 24652 (Apr. 26,

2022) (the “Rule”). See Morehouse Enters. v. Bureau of Alcohol, Tobacco, Firearms

and Explosives, No. 3:22-CV-116, 2022 WL 3597299, at *5 (D.N.D. Aug. 23, 2022)

(D.N.D. Aug. 23, 2022) (Morehouse Enterprises) (“[T]he [] Rule falls well-within the

ATF’s agency rulemaking authority as delegated by Congress.”). The Act defines

“firearm” to include not only fully complete firearms, but also “frame[s]” or

“receiver[s]” that are “designed to” be or that “may readily be converted” into operable

weapons. 18 U.S.C. § 921(a)(3). That unambiguously encompasses ghost gun kits

and the partially complete frames and receivers they contain, which are designed to

be and readily can be converted into operable and unserialized weapons in an hour

or less. Indeed, that is their only purpose. With this in mind, the Rule confirms that




1 Definition of “Frame or Receiver” and Identification of Firearms, 87 Fed. Reg. 24652,

24656 (Apr. 26, 2022).

2 Gun Violence Archive (July 18, 2022), https://bit.ly/3vXsrVa.


3 Kathy Reakes, 4 Charged, 31 Ghost Guns Seized in Multi-Agency Yonkers Bust,

Yonkers Daily Voice (Aug. 9, 2022), https://bit.ly/3C757bc; see also, e.g., Ghost Guns
Recoveries and Shootings, Everytown Research (Apr. 8, 2022), https://bit.ly/3bSCcwt.

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the core building blocks of ghost guns—unserialized, partially complete frames (the

core component of pistols), partially complete receivers (the core component of long

guns), and the kits enabling quick and easy conversion of these frames and receivers

into operable weapons—are “firearms” under the plain language of the Act. Amici

underscore three of the many reasons why the Rule is sound and should be upheld.

      First, the Rule faithfully implements the Act’s language and prevents the

subversion of its law-and-order purpose. The Act provides that “firearms” may be

sold commercially only by licensed dealers and to law-abiding and responsible persons

who pass a background check. Ghost gun kits and partially complete frames and

receivers are “designed to” be and “may readily be converted” into operable weapons,

and thus are, by definition, firearms. 18 U.S.C. § 921(a)(3). Were they not regulated

as such, they could continue to be sold by anyone and to anyone—the opposite of what

Congress intended. Indeed, “Plaintiffs’ position would appear to contradict the plain

language of the [Act], which clearly defined ‘firearms’ more broadly than a fully

operational weapon.” Morehouse Enterprises, at *6. The Act also requires commercial

firearms to possess a serial number and criminalizes obliterating that number—all

in order to help law enforcement fight crime. Ghost gun kits and partially complete

frames and receivers lack serial numbers and, as such, are largely invisible to law

enforcement. 4




4 References to background checks and serialization are limited to firearms that are

distributed commercially, as the Rule does not require background checks on private
firearm sales or restrict persons not otherwise prohibited from possessing firearms
from making unserialized firearms for personal use. 87 Fed. Reg. 24652, 24676.

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      Second, beyond remaining faithful to the Act’s language, the Rule recognizes

practical reality in accounting for the ease and speed with which ghost gun kits and

partially complete frames and receivers can and are intended to be completed into

deadly weapons. As ghost gun companies’ advertising and marketing materials make

clear, ghost gun kits and partially complete frames and receivers are designed with

the sole purpose of being converted into fully functioning weapons. True to that

purpose, such kits and partially complete frames and receivers enable sophisticated

and novice purchasers alike to convert these items into operable weapons swiftly and

easily. Plaintiffs concede as much by acknowledging that the Rule regulates “self-

manufacturing weapons at home” via ghost gun kits and partially complete frames

and receivers. ECF No. 16, at 4.

      Third, the Rule continues ATF’s longstanding view that partially complete

frames and receivers can be “firearms.”       Shortly after the Act’s passage, ATF

recognized that partially complete frames or receivers that could readily be converted

into operable weapons were indeed “firearms,” judging by the ease and speed with

which they could be rendered functional. That the ghost gun industry has flouted

ATF’s oversight by hiding the ease and speed with which ghost guns can be assembled

confirms that the industry knows what the Act has said all along: partially complete

frames and receivers “designed” to be or that may “readily be” converted into weapons

are “firearms.” Plaintiffs’ contention that the Rule attempts to “rewrite federal law,”

ECF No. 16, at 1, and would “completely alter the entire landscape of firearm




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regulation in the United States,” ECF No. 16, at 12, is thus ahistorical and belied by

the industry’s own behavior. 5

                                    ARGUMENT

I.    THE RULE FAITHFULLY IMPLEMENTS THE GUN CONTROL ACT
      AND PREVENTS ITS SUBVERSION

      A.     The Rule Implements the Act’s Clear Definition of “Firearm.”

      The Gun Control Act defines “firearm” as follows:

      (A) any weapon (including a starter gun) which will or is designed to or
      may readily be converted to expel a projectile by the action of an
      explosive; (B) the frame or receiver of any such weapon; (C) any firearm
      muffler or firearm silencer; or (D) any destructive device.

18 U.S.C. § 921(a)(3) (emphases added).

      Taken together, (A) and (B) classify as “firearms” partially complete frames

and receivers and ghost gun kits that are “designed to” be or may “readily be

converted” into operable weapons. That is because “firearm” is defined as the “frame

or receiver of any such weapon,” with “such weapon” in (B) referring back to “weapon”

in (A), which in turn encompasses “any weapon” that is “designed to or may readily

be converted to expel a projectile by the action of an explosive.” In other words, when

(B) refers to “the frame or receiver of any such weapon,” it incorporates the

description of “weapon” in (A), which covers components presently configured to fire

and components that are “designed to [be] or may readily be converted” into operable

weapons. See Morehouse Enterprises, at *6 (“the plain language of the [Act], [] clearly


5 See Morehouse Enterprises, at *11 (That the Rule “regulat[es] a non-operational kit

that can be readily turned into an operational firearm is not a significant [policy]
change” since “a non-operational weapon which can be made operational already
qualifies as a firearm under 18 U.S.C. § 921(a)(3)(A).”).

                                          6
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defined ‘firearms’ more broadly than a fully operational weapon.”); cf. Local Union

No. 38, Sheet Metal Workers’ Int’l Ass’n v. Pelella, 350 F.3d 73, 81 (2d Cir. 2003) (“any

such action” “refers back to” the phrase providing a right to “institute an action”)

(citation omitted).    Because (A) includes not-yet-operable and not-yet-finished

weapons, it follows that the “frame or receiver of any such weapon” in (B) includes

partially complete frames or receivers as well (so long as they are “designed to” be or

may “readily be converted” into the frame or receiver of an operable firearm). 6

Tellingly, Plaintiffs do not try to reconcile the phrase “such weapon” with their

reading. ECF No. 16, at 8.

      Under a straightforward application of that definition, partially complete

frames and receivers, and the ghost gun kits used to assemble such frames and

receivers into operable weapons, are “firearms” whenever they are “designed to” be

or may “readily be converted” into operable weapons. See Morehouse Enterprises, at

*5 (The Rule’s “language . . . as well as the [ghost gun] kits at issue . . . fit squarely

within the [Act’s] “firearm” definition because after delivery, the kits are easily

converted from mere parts into a weapon that expels a projectile.”).

      Notably, despite Plaintiffs’ euphemism that ghost gun kits and partially

complete frames and receivers are mere “items” untethered to operational firearms,




6 Plaintiffs implicitly concede that at least some partially complete frames and
receivers can qualify as firearms. That is because Plaintiffs endorse the so-called
“80% rule,” ECF No. 16, at 16, 19, 30, which posits that a frame or receiver that is
“80%” complete has not yet reached a stage of manufacture to be a “firearm.” This
rule—although divorced from the Act’s text—posits that a partially complete frame
or receiver can at some point qualify as a firearm (e.g., an “85% complete” frame).

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ECF No. 16, at 16–17, 19–20, 25, 27, they remarkably fail to identify even a single

alternative use for ghost gun kits and partially complete frames and receivers other

than constructive unserialized, fully operational weapons. And they cannot: the

exclusive purpose for which these frames, receivers, and kits are made, marketed,

and sold, is conversion into operable weapons without difficulty or expertise. Failing

to regulate these items as “firearms” would ignore the Act’s plain language.

      B.     The Rule Advances the Act’s Purpose.

      The Act’s purpose demands the same interpretation. The Act has two principal

ends and two principal means, all which are directly served by the Rule’s approach.

Through the Act, Congress sought to: (1) promote public safety by “keep[ing] firearms

out of the hands of those not legally entitled to possess them,” such as persons who

have committed felonies, have been convicted of domestic abuse, or are otherwise

dangerous, and (2) “assist law enforcement . . . in combating . . . crime.” S. Rep. No.

90-1501, at 22 (1968) (“Senate Report”); H. Rep. No. 90-1577, at 4412 (1968)

(underscoring the “need” to combat “the growing use of firearms in violent crime”). 7

      Because unregulated ghost gun kits and partially complete frames and

receivers allow dangerous and prohibited individuals to obtain deadly and

untraceable firearms, failing to regulate these items as “firearms” undermines the

Act’s ends. Congress’s chosen means were as follows: (1) regulating who may buy or



7 See New York v. Burger, 482 U.S. 691, 713 (1987) (The Act achieves its “regulatory

goals” of “prevent[ing firearm] sales to undesirable customers and [] detect[ing] the
origin of particular firearms” in support of law enforcement by “ensur[ing] that
‘weapons [are] distributed through regular channels and in a traceable manner.’”
(quoting United States v. Biswell, 406 U.S. 311, 315-16 (1972)).

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sell firearms; and (2) imposing strict rules on how firearms and firearm transactions

are documented and tracked. Infra. Because the Act’s tight limits on purchase, sale,

and distribution apply to frames and receivers designed to be or readily convertible

into operable weapons, the Rule’s coverage of ghost gun kits and partially complete

frames and receivers is faithful to the means enshrined in the Act’s language. Indeed,

as detailed infra, failing to regulate these items as what they are—firearms—would

undermine both the Act and other safety regulations that cross-reference or otherwise

rely upon the Act’s definition of “firearm.”

      Federal firearms licensees. The Act designates federal firearms licensees

(“FFLs”)—those who manufacture, sell, or import firearms—the “principal agent of

[law] enforcement” in “restricting . . . access to firearms.” Huddleston v. United

States, 415 U.S. 814, 824 (1974). If ghost gun kits and partially complete frames and

receivers were not treated as firearms (as the Act requires), the effect would be to

continue to sideline FFLs with respect to the sale and acquisition of a rapidly growing

source of crime guns across the country.

      Under the Act, FFLs—and only FFLs—may “engage in the business of

importing, manufacturing, or dealing in firearms.” 18 U.S.C. § 922(a)(1)(A); see id.

§ 923(a). In exchange for this right to engage in the firearms business, FFLs must

serve as the Act’s frontline mechanism for implementation:

          •   FFLs may not “sell or deliver” firearms to individuals who, inter alia,
              are underage, reside out-of-state (with limited exceptions), or have a
              criminal history. 18 U.S.C. §§ 922(b), 922(d); see 27 C.F.R. § 478.99.

          •   FFLs must keep extensive inventory and transaction records and must
              report suspicious purchasing patterns. 27 C.F.R. §§ 478.101 (record-



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               keeping), 478.121–134 (same); 18 U.S.C. § 923(g)(3) (FFLs must report
               when an individual buys multiple guns within a short timeframe).

          •    FFLs must make their records accessible to law enforcement officials,
               who can and often do access these records to monitor, prevent,
               investigate, and combat firearm-related crimes. See infra.

FFLs that fail to meet these or other duties may lose their license, 27 C.F.R. § 478.73,

and may be held accountable through both civil and criminal liability, 18 U.S.C.

§§ 922, 924.

      The Act and its implementing regulations thus enshrine FFLs as scrutinizing

gatekeepers at the point of sale, subject to harsh penalties for noncompliance. 8 But

FFLs’ functions and enforcement mechanisms attach only to “firearms.” If ghost gun

kits and partially complete frames and receivers are not treated as “firearms,” FFLs

would continue to be displaced as the “principal agent of [law] enforcement” for this

rapidly expanding source of crime guns. Huddleston, 415 U.S. at 824.

      Background checks. The Act requires every individual who purchases a

firearm from an FFL to submit to a background check. 18 U.S.C. § 922(t)(1); 27 C.F.R.

§ 478.102(a). Absent recognizing ghost gun kits and unfinished frames and receivers

as firearms—as the Act requires and the Rule confirms—untraceable and functional

firearms could be acquired by anyone, regardless of background: criminals, domestic

abusers, minors, and persons with severe mental illness, to name a few.




8 In monitoring the point of sale, the Act proactively keeps firearms out of dangerous

hands, rather than forcing law enforcement to restrict possession after the firearms
have entered circulation. The Rule furthers this prophylactic premise: public safety
is better served by preventing a violent criminal from purchasing a gun than it is by
recovering a gun after a crime has already occurred.

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      Allowing unfettered access to dangerous weapons is the opposite of what

Congress envisioned. In tightly regulating who may purchase a firearm under the

Act, “Congress . . . sought broadly to keep firearms away from the persons Congress

classified as potentially irresponsible and dangerous.” Barrett v. United States, 423

U.S. 212, 218 (1976). That approach is consistent with a “longstanding” historical

tradition of “prohibitions on the possession of firearms” that further public order, such

as limiting possession by “felons and the mentally ill.” District of Columbia v. Heller,

554 U.S. 570, 626–27 (2008); see N.Y. State Rifle & Pistol Assoc., Inc. v. Bruen, 142 S.

Ct. 2111, 2122, 2133–34 (2022) (the Constitution protects “the right of an ordinary,

law-abiding citizen . . . .”) (emphasis added). The Act continues that tradition by

“establish[ing] a detailed scheme to enable the dealer to verify . . . whether a potential

buyer may lawfully own a gun.” Abramski, 573 U.S. at 172.

      So important is the purchaser’s law-abiding status that it is a crime for an FFL

to sell a firearm without running a background check on the transferee, 18 U.S.C.

§ 922(t); for a buyer to “make any false or fictitious oral or written statement”

concerning their identity, id. § 922(a)(6); and for FFLs to make any “false” statement

in records relating to a buyer’s identity, id. §§ 922(m), 924(a)(3). The Rule faithfully

implements Congress’s calibration of who may possess a firearm and the scheme for

preventing circumvention of those rules. Plaintiffs’ position would breathe life into

the exact dangers the Act was designed to address. Congress saw “the ease with

which any person can anonymously acquire firearms” as “a matter of serious national

concern,” and responded accordingly. Senate Report at 22. For instance, to curtail




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anonymous purchases, Congress barred “the commercial mail-order traffic in

firearms to unlicensed persons.” Id. at 23. In fact, Congress rejected earlier proposed

legislation because such legislation failed to “prohibit the mail-order sale” of firearms

known for “their susceptibility to crimes.” S. Rep. No. 89-1866, at 34, 100 (1966).

       Absent regulation as firearms, ghost gun kits and partially complete frames

and receivers are the modern incarnation of mail-order guns: they allow anonymous

buyers (including criminals) to purchase a firearm remotely and have that firearm

shipped across state lines to facilitate crime. In recent years, this has occurred

regularly, nationwide.    And ghost gun kit manufacturers, for their part, have

advertised anonymity and the avoidance of background checks as reasons to purchase

their wares. 9

       Straw purchases. Failing to classify ghost gun kits and partially complete

frames and receivers as firearms would dilute the Act’s ban on “straw purchases,” i.e.,

gun purchases made by someone who can pass a background check on behalf of

someone else—often a prohibited buyer. Purchasers of ghost gun kits or partially




9 See, e.g., Are Felons Restricted from Owning a Firearm that Was Built from an 80%

Receiver?, Polymer80 Blog (Oct. 21, 2020), formerly at https://bit.ly/3DDzXGo
(“Convicted felons are not restricted from purchasing and owning 80% frames . . . .”);
The History of Legally Buying Firearms Without an FFL, 80% Arms Blog (Dec. 3,
2019), https://bit.ly/3HClkFU (no background check or serial number required); Ghost
Gunner, Ghost Guns (last visited Aug. 28, 2022), https://bit.ly/3pUjDvj (same); Lower
Receiver, SS-Arms (last visited Aug. 28, 2022), https://bit.ly/3GAVvVo (same); About,
R&B Tactical Tooling (last visited Aug. 28, 2022), https://bit.ly/3oNKmZU (same);
JSD, Premier Gun Parts and Accessories, JSD Supply (last visited Aug. 28, 2022),
formerly at https://bit.ly/3rKrgqj and archived at https://bit.ly/3pPlUZ5 (same). The
JSD Supply website removed that language around the time the Rule took effect.

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complete frames and receivers would not even need to cloak their identities with

straw purchases if these items were not recognized as firearms.

      The Act aims to prevent the diversion of firearms to the black market through

several means, including by prohibiting “straw purchases.” Straw purchases have

long fueled illegal gun trafficking.   Following the Gun: Enforcing Federal Laws

Against Firearms Traffickers, U.S. Dept. of the Treasury at 10 (June 2000),

https://bit.ly/3JXi6OP (“Nearly 50 percent of the ATF investigations involved

firearms being trafficked by straw purchasers.”); Trafficking & Straw Purchasing,

Giffords Law Center (last visited Aug. 28, 2022), https://bit.ly/3FBTtnv (noting

“30,000 attempted straw purchases each year”).

      Through several interlocking requirements, the Act forbids straw purchases.

Gun buyers must fill out “Form 4473,” attesting to their identity as the “actual

transferee/buyer,” ATF Form 4473 (5300.9), https://bit.ly/3CAv5Rl, and it is a crime

to misrepresent—on Form 4473 or elsewhere—“any fact material to the lawfulness of

the sale,” 18 U.S.C. § 922(a)(6); see Abramski, 573 U.S. at 171. Further, any FFL that

does not take steps to stop straw purchases at the point of sale can lose its license

and face both civil and criminal liability. See, e.g., Shawano Gun & Loan, LLC v.

Hughes, 650 F.3d 1070, 1077–79 (7th Cir. 2011).

      As the Supreme Court has recognized, protections against straw purchases are

essential because, “[p]utting true numbskulls to one side, anyone purchasing a gun

for criminal purposes would avoid leaving a paper trail by the simple expedient of

hiring a straw.” Abramski, 573 U.S. at 183. Yet if ghost gun kits and partially




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complete frames and receivers were wrongly excluded from the definition of

“firearms,” then none of the tools that ATF employs to combat straw purchases would

be available to this rapidly proliferating segment of the market, leaving criminal

buyers with few roadblocks to obtaining firearms.

      Serialization, record-keeping, and public safety. Ghost guns contravene

the Act’s serialization and record-keeping provisions, making it more difficult for law

enforcement to fight crime. See, e.g., United States v. Marzzarella, 614 F.3d 85, 98

(3d Cir. 2010) (“[W]e think it plain that [serialization] serves a law enforcement

interest.”); United States v. Harris, 720 F.3d 499, 502 (4th Cir. 2013) (same). By their

very nature, ghost guns—easily assembled from partially complete frames and

receivers that Plaintiffs would carve out of the Act—are fully operational, unmarked,

and untraceable firearms, which impede law enforcement’s ability to prevent and

prosecute violent crime by tracing illegal weapons to their source. See Morehouse

Enterprises, at *12 (clarifying that the Rule advances “ATF’s interest in law

enforcement and public safety”).

      The Act mandates that every firearm possess a unique serial number and

makes it a crime to tamper with a serial number or even “receive” a firearm with an

already-tampered-with serial number. 27 C.F.R. § 478.92; 18 U.S.C. §§ 923(i), 922(k).

Serialization allows ATF “to link a suspect to a firearm.” Nat’l Shooting Sports

Found., Inc. v. Jones, 716 F.3d 200, 204 (D.C. Cir. 2013). Possessing a firearm with

an altered serial number triggers a sentencing enhancement—even if law

enforcement can reconstruct the number. U.S.S.G. § 2K2.1(b)(4)(B); see United States




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v. St. Hilaire, 960 F.3d 61, 64 (2d Cir. 2020); United States v. Fuller-Ragland, 931

F.3d 456, 467 (6th Cir. 2019).

        The Act also assists law enforcement by subjecting FFLs to record-keeping

duties to track firearm sales and inventory. 18 U.S.C. § 922(g)(1)(A); 27 C.F.R.

§§ 478.121–134. Law enforcement may “examine the inventory and records of [FFLs]

. . . without . . . reasonable cause or warrant,” “in the course of a reasonable inquiry

during the course of a criminal investigation.” 18 U.S.C. § 923(g)(1)(B); see 27 C.F.R.

§ 478.121(b). “FFL records” allow law enforcement to “trace a firearm” and identify

its “path through the distribution chain.” Nat’l Shooting Sports, 716 F.3d at 204

(cleaned up).

      Without serialization and record-keeping, including for ghost gun kits and

partially complete frames and receivers, these law enforcement mechanisms break

down. United States v. Mobley, 956 F.2d 450, 454 (3d Cir. 1992) (it is “no secret that

a chain of custody for a firearm greatly assists in the difficult process of solving

crimes,” and that, without “serial numbers,” reconstructing that chain is “virtually

impossible”); Marzzarella, 614 F.3d at 98 (“Firearms without serial numbers are of

particular value to those engaged in illicit activity.”). Plaintiffs regard the term

“ghost guns” as “derogatory” and take offense at the suggestion that their ghost guns

“enabl[e] criminals,” ECF No. 16, at 23, but these protestations are belied by a House

Committee report, which expressly warned that “[g]host guns” pose a “homeland

security challenge” because they “hamstring[] law enforcement’s ability to investigate

crimes,” as such crimes are “committed with untraceable weapons.” H. Rep. No. 116-




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88, at 2 (2019). This conclusion tracks common sense: would-be criminals naturally

prefer untraceable ghost guns to traceable options. 10

II.   THE RULE APPROPRIATELY CONSIDERS THE PRACTICAL
      REALITY THAT GHOST GUNS CAN BE QUICKLY AND EASILY
      ASSEMBLED BY NONEXPERTS

      The Act defines “firearm” in practical terms, covering not only fully complete

weapons, but also frames and receivers that are designed to be or may readily be

converted into operable weapons—thus regulating items that exist for no other

purpose and almost certainly will become weapons. 18 U.S.C. § 921(a)(3). The Rule

is faithful to this statutory definition and Congress’s pragmatic approach, recognizing

that ghost guns can be assembled from ghost gun kits and partially complete frames

and receivers easily and without any technical expertise, in an hour or less.

      Courts have widely agreed that, under the Act, a “weapon designed to fire a

projectile” that is “temporarily incapable of effecting its purpose,” is not “removed

from” the definition of a “firearm.” United States v. Rivera, 415 F.3d 284, 286 (2d Cir.

2005); see, e.g., United States v. Cooper, 714 F.3d 873, 881 (5th Cir. 2013) (“[W]e have

consistently held that inoperable firearms can support convictions [under section

921(a)(3).]”); United States v. Hardin, 889 F.3d 945, 949 (8th Cir. 2018) (rejecting

argument that the “disrepair” of a gun, which rendered it inoperable, changed that


10  For example, the website of Plaintiff Tactical Machining, LLC (“Tactical
Machining”) advertises to prospective purchasers that the company’s “80% lower”
receivers are “machined as far as you can” to being operable firearms so as to avoid
“requir[ing them] to be transferred to an FFL” with all its attendant regulations. 80%
Lower Guide, Tactical Machining (last visited Aug. 26, 2022), https://bit.ly/3pTHfAC
(emphasis added). In practical terms, the sale of such receivers transparently aims
to skirt the Act’s goal of proper FFL recordkeeping and hamper law enforcement
efforts to prevent and investigate gun trafficking and violence.

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the gun was “manufactured to be . . . a gun”) (quotation marks omitted). Likewise,

as the Eighth Circuit has recognized, an object that must be “modified” to function as

a firearm, is no less a firearm in the eyes of the Act. See United States v. Mullins,

446 F.3d 750, 756 (8th Cir. 2006) (gun that could be “modified,” “without any

specialized knowledge, in less than an hour,” is “‘readily convertible’”); United States

v. Annis, 446 F.3d 852, 857 (8th Cir. 2006) (finding no error in imposing the dangerous

weapon sentencing enhancement even though the firearm in question “was missing

both the clip and the bolt” and “partially disassembled”); United States v. Smith, 477

F.2d 399, 400 (8th Cir. 1973) (gun that required “8-hour working day in a properly

equipped machine shop” was “readily” convertible into a gun).

      Consistent with this body of precedent, last week, the District Court for the

District of North Dakota denied a preliminary injunction in another challenge to the

Rule, concluding that ghost gun kits and partially complete frames and receivers

constitute firearms because the Act “clearly defined ‘firearms’ more broadly than a

fully operational weapon” and so “a ‘frame or receiver’ may be considered a firearm

much sooner in the process than a ‘weapon.’” Morehouse Enterprises, at *6; see id.

(observing that “no provision of federal law foreclos[es] this possibility”). And earlier

this month, the D.C. Superior Court likewise held that partially complete frames,

receivers, and kits sold by a ghost gun manufacturer are “firearms” as they may be

“readily converted.” 11




11 District of Columbia v. Polymer80, Inc., No. 2020-CA-002878-B, at 5 (D.C. Sup. Ct.

Aug. 10, 2022) (“On Polymer80’s website, they provide instructions to consumers on

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      Not only is the statutory language dispositive, but a mountain of evidence

confirms that ghost gun kits and partially complete frames and receivers are

designed to be and may readily be converted into operable weapons, and thus are

“firearms” under the Act. Manufacturers and distributors have advertised that these

kits, frames, and receivers are designed for the sole purpose of being assembled into

functional guns. And—consistent with that purpose—these items can in fact be

easily assembled into functional weapons by the most novice gun-builders, including

children. 12 Specifically, through a single website, one can buy a complete, all-in-one

kit that “package[s] the unfinished frame or receiver with all the other parts needed

to complete the firearm.” Untraceable: The Rising Specter of Ghost Guns, Everytown

Research (May 14, 2020), https://bit.ly/3DTrIWj. Once the kit is delivered, assembly

is simple. As the head of ATF’s Los Angeles field office observed:

      If you can go to one of these big-box stores and put that type of furniture
      together, if you’re putting together your kids Christmas toys, you can
      make a homemade gun. It’s that easy.

Jonathan Edwards, A 13-Year-Old Boy Made and Trafficked ‘Ghost Guns,’

Authorities Say, and Then Killed His Sister with One, Wash. Post. (Dec. 3, 2021),

https://wapo.st/3Ggarb9.




how to build firearms with these unfinished frames, receivers, and . . . kits.”),
https://bit.ly/3A1f4EN.
12 See Kallie Cox, Once a Week, Police Find These Homemade Guns. Federal Law Just

Got        Tougher,       Charlotte       Observer       (Aug.    25,      2022),
https://www.charlotteobserver.com/news/local/crime/article264856744.html (police
“regularly seize ghost guns and often find youth have them”).

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      As Plaintiffs readily admit, these ghost gun kits and partially complete frames

and receivers readily enable “self-manufacturing weapons at home.” ECF No. 16, at

4. And, notably, even though Tactical Machining attests to this Court that it does

not “provide any form of instruction on how to self-manufacture a firearm frame or

receiver” or include any “tooling” or “jigs” to build operable weapons from partially

complete frames and receivers, ECF No. 16-1, ¶ 5 (Decl. of Darren Peters, Sr., Owner

and CEO of Tactical Machining) (emphasis added), its website reveals the opposite.

Specifically, the company sells ghost gun kits with “Install Instructions,” “the cam

clamp and takedown pin,” and “[b]oth barrel nut and the alignment tool”—all

“contained in the assembly.” 80% Build Kits, Tactical Machining (last visited Aug.

26, 2022), https://bit.ly/3wAHtjZ.

      Ghost gun kits are not only designed to be converted into firearms: they are

designed to be converted quickly. Kit manufacturers and distributors tout this speed

in marketing materials. See, e.g., GST-9: 80% Pistol Build Kit, 80% Arms (last visited

Aug. 28, 2022), https://bit.ly/3x6n0T7 (“Our goal was for you to be able to go from

opening the mail, to a competition or defense ready pistol in under 15 minutes.”).

Manufacturers and distributors also publish how-to guides to walk novices through

the fast-and-easy assembly. See, e.g., How-To Manuals, Polymer80 (last visited Aug.

28, 2022), https://bit.ly/3qUwobt.

      Amateurs and experts alike have assembled kits in around an hour or less. See

Glenn Thrush, ‘Ghost Guns’: Firearm Kits Bought Online Fuel Epidemic of Violence,

N.Y. Times (Nov. 14, 2021), https://nyti.ms/3EYiedv (“[An] amateur can . . . turn [a




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kit] into a working firearm in less than an hour.” (emphasis added)); Compl. at ¶¶

74, 115, People v. Blackhawk Mfg. Grp., et al., CGC-21-594577 (Cal. Super. Ct. Aug.

18, 2021) (officer assembled kit in “less than 25 minutes” with tools from a hardware

store (emphasis added)); id. at ¶ 73 (ATF agent finished kit “in less than nineteen

minutes” (emphasis added)); Prelim. Inj. Mem., City of N.Y. v. Arm or Ally LLC, et

al., 22-CV-5525, ECF No. 9, at 11 (S.D.N.Y. June 29, 2022) (ghost gun assembled “in

approximately an hour and a half”) (emphasis added). In earlier ghost gun

litigation, one individual who had “never attempted to build a firearm using an

unfinished frame or receiver,” watched “videos on YouTube for thirty minutes,” then

built “a complete pistol from [a] handgun kit in 86 minutes.” Decl. of J. McFarlan,

City of Syracuse, et al. v. ATF, 1:20-CV-6885 (“City of Syracuse”), ECF No. 64-34, at

¶¶ 8, 10, 11 (S.D.N.Y. Dec. 9, 2020) (emphasis added). The Rule correctly recognizes

the contemporary reality that anyone with an internet connection, an hour or less of

free time, and basic household tools can convert ghost gun kits and partially complete

frames and receivers into operable and untraceable weapons.

III.   THE RULE COMPORTS WITH ATF’S LONGSTANDING VIEW THAT
       PARTIALLY COMPLETE FRAMES AND RECEIVERS CAN BE
       FIREARMS

       Plaintiffs erroneously contend that the Rule upends ATF’s historical practice

and would “dramatically expand” existing ATF regulatory framework. ECF No. 16,

at 5–9. To the contrary, for years after the Act’s passage, ATF understood that

Congress defined “firearm” to include some partially complete frames and receivers,

and that the operative question is how quickly and easily—i.e., how “readily”—a

frame or receiver can “be converted” into an operable weapon. 18 U.S.C. § 921(a)(3);


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Morehouse Enterprises, at *11 (regulating “a non-operational kit that can be readily

turned into an operational firearm is not a significant [policy] change” because “a non-

operational weapon which can be made operational already qualifies as a firearm

under 18 U.S.C. § 921(a)(3)(A).”). That some purveyors of ghost gun kits and parts

have tried to affirmatively hide from ATF the ease with which their wares can be

assembled only reinforces that a partially complete frame or receiver that can quickly

and easily be converted into a weapon is indeed a “firearm” under the Act.

      The Act was enacted in 1968. In 1976, ATF’s Assistant Chief Counsel issued

an opinion with a framework for assessing whether a partially complete frame or

receiver is a “firearm.” Admin. Record, City of Syracuse, ECF No. 60 (S.D.N.Y. Dec.

8, 2020), at ATF0265. The opinion explained that if “unfinished frames” or “castings”

“may readily be converted” into weapons, “they are firearms.”           Id. at ATF0266

(emphasis added). The opinion concluded that unfinished frames and receivers must

be reviewed “case-by-case” to gauge if they are “readily convertible” into weapons:

      [W]e view the current Bureau procedure in classifying “firearms” on a
      case-by-case basis as consistent with the letter and spirit of the [] Act.
      It is obvious that what constitutes “readily convertible” depends upon
      the nature of each firearm. That there may be cases where it is difficult
      to determine the side on which a particular “firearm” falls is not a
      sufficient reason to establish a rigid criterion for … “readily convertible.”

Id. at ATF0267.

      For decades, ATF followed that approach in classification letters that turned

on whether a partially complete frame or receiver could “readily be converted” into

an operable weapon. Id. at ATF0001, ATF0014, AATF0020, ATF0023, ATF0050,

AATF0051, AATF0053, ATF0065. Consistent with the straightforward dictionary



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definition of “readily”—meaning “without much difficulty” or “with fairly quick

efficiency” 13—several of these letters referenced the ease and speed with which

partially complete frames and receivers could be assembled into operable weapons.

Id. at ATF0020 (partially complete receiver was a “firearm” because it required “75

minutes” of assembly); id. at ATF0024 (partially complete frame was a “firearm”

because it required “20 minutes” of assembly). 14

       Plaintiffs overlook this history altogether, and instead complain that the Rule

newly regulates “items that may someday become a frame or receiver or even the

individual parts of a weapon” and “a collection of non-firearm parts (including the

non-frame or non-receiver).”      ECF 16, at 8–9.      That complaint is belied by the




13 Webster’s Third New International Dictionary 1889 (1965) (defining “readily”).


14 This history illustrates one of many ways in which Plaintiffs’ invocation of West

Virginia v. EPA, 142 S. Ct. 2587 (2022), is misplaced. ECF No. 16, at 21–22 & n.24,
24. In West Virginia, the Court vacated an EPA rule “claim[ing] to discover” a power
in the Clean Air Act for the first and only time in four decades. 142 S. Ct. at 2610
(cleaned up). By contrast, here, the Rule follows a reading of the Act that ATF
adopted in 1976. Notably, West Virginia’s reliance on the “major questions doctrine”
also turned on the EPA rule risking “billions” in costs and “tens of thousands of jobs,”
under an “obscure . . . section of the law.” Id. at 2602, 2604-05. Despite Plaintiffs’
alarmist rhetoric that the Rule will cause “[t]he market for privately manufacturing
firearms” to “likely die,” ECF No. 16, at 37, in reality, the “Rule does not infringe on
any individuals’ or business’ ability to completely manufacture[] a firearm for
personal use, nor does it restrict the ability to obtain the weapon kits at issue. . . . [it]
simply requires serialization of a firearm, when in the stream of commerce, so that it
may be tracked in the event a crime is committed with the firearm.” Morehouse
Enterprises, at *8; see Div. 80, LLC v. Garland, No. 3:22-CV-148, 2022 WL 3648454,
at *3–5 (S.D. Tex. Aug. 23, 2022) (“the only quantified compliance costs” that the Rule
may impose on ghost gun companies “is a few hundred dollars in licensing fees”).
Plaintiffs’ contention that operating as FFLs and serializing ghost gun kits and
partially complete frames and receivers in accordance with the Act “risk the
destruction of their businesses” rings quite hollow. ECF No. 16, at 38.

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industry’s behavior, including Tactical Machining’s. 15 The ghost gun industry has

seemingly tried to hide from ATF the extent to which ghost gun kits can be “readily”

converted into deadly weapons—a clear sign that, even before the Rule, the industry

knew that the Act reaches partially complete frames and receivers. In an affidavit to

support a warrant to search a facility operated by Polymer80 (the nation’s largest

public seller of ghost gun kits and parts), an ATF agent stated that, in 2017,

Polymer80 sought an ATF determination that an unfinished pistol frame is not a

firearm by misleadingly submitting just the partially complete frame without the rest

of the kit sold with the frame, which included other parts and tools to complete the

frame of a ghost gun. Aff. of T. Hart, In the Matter of the Search of the Business and

Federal Firearms Licensee Known as Polymer80, 3:20-mj-123, ¶¶ 42–43 (D. Nev. Dec,

9, 2020), https://on.wsj.com/3pivOCi. ATF responded to Polymer80 in a letter noting

that, “the submitted sample is simply a component of a larger product,” and directing

Polymer80 to “submit the complete . . . [k]it.” Id. at ¶¶ 43–44. As of December 2020,

Polymer80 had not “resubmitted the . . . kit.” Id. at ¶ 45. ATF eventually obtained a

kit through an informant who bought the “Buy Build Shoot” kit—advertised as

having “all the necessary components” for a gun—with no background check, and

assembled it into an operable gun in 21 minutes. Id. at ¶ 69.

      In short, ATF has long recognized that partially complete frames and receivers

that can quickly and easily be assembled into operable weapons are “firearms.” That



15 See 80% Lower Guide (admitting that Tactical Machining’s 80% receivers are
intended to bypass federal gun sale regulations by being “machined as far as you can”
before being classified as operable weapons).

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the ghost gun industry appears to have hidden the nature of its products from ATF

only confirms that the industry knows its current practices violate federal law.

                                  CONCLUSION

      This Court should deny Plaintiffs’ motion for a preliminary injunction.


   August 30, 2022                         Respectfully Submitted,
                                           By: /s/ Daniel Grooms

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of August 2022, a true and accurate copy

of the foregoing brief was served via the Court’s CM/ECF system to all counsel of

record.



August 30, 2022                           Respectfully Submitted,
                                          By: /s/ Daniel Grooms




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